           Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 1 of 28




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION




 DONNA CURLING, ET AL.,                         DECLARATION OF
 Plaintiffs,                                    J. ALEX HALDERMAN IN
                                                SUPPORT OF CURLING
 v.                                             PLAINTIFFS’ REPLY IN
                                                SUPPORT OF MOTION FOR
 BRAD RAFFENSPERGER, ET AL.,                    PRELIMINARY INJUNCTION
 Defendants.

                                                Civil Action No. 1:17-CV-2989-AT


       Pursuant to 28 U.S.C. § 1746, J. ALEX HALDERMAN declares under

penalty of perjury that the following is true and correct:

      1.      I hereby incorporate my previous declarations as if fully stated herein.

I have personal knowledge of the facts in this declaration and, if called to testify as

a witness, I would testify under oath to these facts.

      2.      Georgia’s new voting system incorporates optical scanners and ballot

marking devices (“BMDs”) manufactured by Dominion Voting Systems, Inc.

(“Dominion”). Under this system (the “BMD voting system”), all in-person voters

will select candidates on BMDs; the BMDs will print a paper ballot that is supposed

to contain the voter’s selections in both human-readable text and as a machine-
           Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 2 of 28




readable barcode;1 the voter will insert the paper ballot into an optical scanner, which

will store a digital scan of the printout;2 the scanner will process the barcode and

count the votes encoded in it;3 and the paper ballots will be retained for use in audits

or recounts. Absentee voters will not use BMDs but will instead complete hand-

marked paper ballots (“HMPBs”), which will be counted by similar optical scanners.

      3.      Despite the addition of a paper trail, the BMD voting system suffers

from serious security risks that are similar to the risks of Georgia’s old paperless DRE

voting system. Neither the DRE system nor the BMD system can achieve the level

of security necessary to withstand an attack by a sophisticated adversary, such as a

hostile foreign government. As I will explain, BMDs are vulnerable to serious attacks

that have the potential to change all records of the vote. Moreover, when BMDs are

used by all in-person voters, as in Georgia, there is a high risk that attackers could

exploit them to change an election outcome.




1
  Specifically, QR codes, a kind of matrix barcode. QR codes differ from one-
dimensional barcodes most relevantly in that they store more data in the same
amount of space. For technical details about QR codes, see the international
standard that defines them, ISO/IEC 18004:2015: Information technology -
Automatic identification and data capture techniques - QR Code
bar code symbology specification, available at
https://www.iso.org/standard/62021.html.
2
  Decl. of Dr. Eric Coomer, Dckt. 658-2, at 10.
3
  Id. at 9.

                                           2
             Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 3 of 28




        4.      However, Georgia can greatly strengthen the security of future elections

through a straightforward procedural change. Rather than directing all in-person

voters to use BMDs, the State could have in-person voters mark paper ballots by hand

and reserve BMDs for voters who request to use them. This approach would require

no additional equipment and would result in no loss in accessibility. Hand-marked

paper ballots are already used in Georgia for absentee voting, and so they are prepared

and printed for every ballot style in every election. The state’s new optical scanners

are already capable of counting hand-marked ballots.4 BMDs would continue to be

available for voters who need them. Yet the risk that election outcomes could be

hacked would be far less than under Georgia’s planned system.

        5.      Georgia is an outlier in adopting BMDs for all voters. Only 403 counties

in the United States have done so, and almost 40% of them are in Georgia.5 In

contrast, the majority of election jurisdictions across the U.S. (representing nearly

two-thirds of registered voters) provide BMDs exclusively for voters who request

them (e.g., those with disabilities), which is much safer.




4
    Id.
5
    Stewart Decl. Ex. 2.

                                             3
           Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 4 of 28




Hacking Risks Under the BMD Voting System

      6.      Georgia’s new voting system relies on two kinds of equipment to cast

and count votes: optical scanners and BMDs. The optical scanners could potentially

be hacked to make them count inaccurately. However, such an attack on the scanners

could be caught and corrected by manually inspecting the paper ballots in an

appropriate recount or a sufficiently rigorous risk-limiting audit (“RLA”).

      7.      Alternatively, attackers could hack the BMDs and cause them to print

ballots that do not reflect voters’ selections.6 Such a hack could change both the text

and the barcode on the printed ballots. Recounts or RLAs would not be able to detect

this fraud, since all records of the vote, including the paper trail, would be wrong.

      8.      Defendants’ experts do not dispute that BMDs can be hacked.7 Like

Georgia’s legacy DREs, the new BMDs are computers, they run outdated and

vulnerable software,8 and they must be programmed using the State’s election

management system before every election. Attackers could potentially infect




6
  It is extremely dangerous to think of BMDs as “nothing more than an ink pen”, as
Defendants’ expert Dr. Gilbert suggests (Decl. of Juan E. Gilbert, Dckt. 658-3, at
60). Unlike a pen, the BMDs used in Georgia are fully reprogrammable computers
that might be infected by malicious software created by hostile foreign
governments.
7
  Coomer decl. at 13; Gilbert decl. at 44.
8
  Decl. of J. A. Halderman, Oct. 2, 2019, at 22.

                                           4
           Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 5 of 28




Georgia’s BMDs with malware by spreading it from the election management system

(EMS), in the same way that malware could have spread through the old DRE system.

      9.      Despite the use of new scanners and BMDs and a new EMS, Georgia’s

BMD-based voting system is at heightened risk of attack because of the legacy of

poor security in the old DRE voting system and associated computer systems and

networks. If nation state attackers infiltrated the old system, they likely did so by first

infiltrating components such as the Secretary of State’s computer network, the voter

registration database software developed by PCC, Inc., and the non-“air gapped”

computers used by state and county workers and outside contractors to transfer data

into and out of the EMS. The record in this matter contains abundant evidence about

vulnerabilities in all these components, some of which were unmitigated for years

and may still be unmitigated. Responsibility for their security continues to rest with

many of the same technicians and managers who oversaw the security of the old

system and were unable or unwilling to implement effective security measures.

      10.     If attackers breached any of these components to attack the old voting

system, those attackers may continue to have access. All these components will

continue to be used with the new voting system, including to process data that is

copied to polling place equipment. Technologies that State Defendants highlight as

key defenses, such as anti-malware scans, anti-virus scans, and endpoint protection,


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         Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 6 of 28




provide little defense against sophisticated attackers like hostile governments. As a

result, the new election system continues to face a very serious risk of attack.

      11.    An attacker who infected Georgia’s BMDs with malware could change

the printed ballots in several ways. On a fraction of the ballots, the attacker could

cause the human-readable text, the barcode, or both to reflect fraudulent choices

determined by the attacker, rather than the voter’s selections. I will discuss two kinds

of such misprinting attacks below: attacks that change only the barcode and attacks

that change both the barcode and the text.

Attack 1: Misprinting Only the Barcode

      12.    One kind of misprinting attack is a barcode-only attack. In this attack,

malware would change a fraction of the BMD printouts so that they correctly showed

the voter’s selections in the ballot text but encoded a different, fraudulent set of

selections in the barcode.

      13.    If an attacker changes only the barcode, it would be impossible for voters

to detect the fraud. Voters cannot read the barcodes, so there is no practical way for

voters to verify that the barcodes on their ballots match their intended selections.

Moreover, when scanning BMD ballots, the optical scanners count only the votes

encoded in the barcodes and ignore the text entirely. This means that voters cannot

verify the portion of their ballots that gets counted.


                                             6
         Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 7 of 28




      14.    Barcode misprinting attacks cannot be reliably detected using pre-

election testing or parallel testing.9 An attacker could decide which ballots to modify

based on a very large number of variables, including the time of day, the number of

ballots cast, the voter’s selections, and whether the voter used options such as a large

font size or an audio ballot. It is impossible for any practical amount of testing to

examine all sets of conditions under which attackers might choose to cheat.

      15.    Officials could potentially detect a mismatch between the barcodes and

the ballot text using a sufficiently rigorous post-election audit. However, Georgia has

not announced plans to perform any kind of audit that would compare the barcodes

and the printed text, nor what specific measures would be taken to render any

potential audit sufficiently comprehensive and reliable. For example, while RLAs

could potentially uncover barcode-only attacks, RLAs typically are designed to

achieve a low risk-limit in specific races, but an attacker could target any race in any

election. A barcode-only attack would likely not be detected in an RLA if it occurred

in a race for which the RLA had a high effective risk-limit. Although some Georgia




9
 Philip B. Stark, “There is no Reliable Way to Detect Hacked Ballot-Marking
Devices” (2019), available at https://www.stat.berkeley.edu/~stark/Preprints/bmd-
p19.pdf.

                                           7
        Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 8 of 28




counties recently conducted small-scale audit pilots,10 these audits achieved a low

risk-limit only in specific local races. The State has not announced plans to perform

RLAs of any state-wide race in 2020.

      16.   Even if officials did detect that some ballots showed different choices in

the barcode than in the text, there might be no way to determine the correct election

results, contrary to the assertions of Defendants’ expert, Dr. Juan Gilbert.11 If the

discrepancies resulted from an attack, this would cast doubt on both the barcodes and

the ballot text. An attacker who was able to alter the barcode would be equally

capable of altering the ballot text. Malware might even be designed to sometimes

alter only the barcode and sometimes only the text. This means that officials could

not simply ignore the barcodes and count only the text if they suspected the BMDs

had been compromised. Rather than removing ambiguity from the record of voters’

choices, as Dr. Gilbert claims,12 BMDs with barcodes introduce a new source of it.

      17.   BMDs do not need to use barcodes. Several kinds of modern, EAC-

certified BMDs deployed in other states do not use barcodes to encode votes. These




10
   “Risk-limiting audit concludes paper-ballot system accurate” (Nov. 13, 2019),
available at https://sos.ga.gov/index.php/elections/risk-
limiting_audit_concludes_paper-ballot_system_accurate.
11
   Gilbert decl. at 39(G).
12
   Id. at 39(C).

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         Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 9 of 28




include the ClearBallot Clear Access system13 and the Hart Verity Touch Writer.14

Instead of a barcode for vote tabulation, these systems print a ballot that looks like a

hand-marked paper ballot but has scan targets filled in for the selected candidates.

Attack 2: Misprinting Both the Barcode and the Text

      18.    As Dr. Gilbert points out, “[t]he primary goal of having a paper ballot is

to enable an audit to ensure the integrity of the election; therefore, the audit or manual

recount is the final say in the election outcome. If the auditability of the ballots is

compromised, then the audit/recount fails.”15

      19.    BMDs make it possible for an attacker to compromise the auditability

of the ballots and thereby undermine the primary goal of the paper trail. Malware

could cause the BMDs to print fraudulent selections in both the barcode and the

human-readable text. This attack would be impossible to detect by auditing the

ballots, even with an RLA, because all records of the voter’s intent would be wrong.

Pre-election testing and parallel testing also cannot reliably detect such cheating.

      20.    Unlike the security of hand-marked paper ballots, the security of BMD-

printed ballots relies critically on voters themselves. The only practical way to




13
   https://clearballot.com/products/clear-access.
14
   https://www.hartintercivic.com/wp-content/uploads/VerityTouchWriter.pdf.
15
   Gilbert decl. at 39(B).

                                            9
        Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 10 of 28




discover a BMD attack that altered both the barcodes and the ballot text would be if

enough voters reviewed their ballots, noticed the errors, and alerted election officials.

      21.    Even if some voters do notice that their ballots were misprinted, the

voters would have no way to prove that the BMDs were at fault. From an election

official’s perspective, the reporting voters might be mistaken or lying. Many voters

would need to report that the BMDs misprinted their ballots before officials could be

sure there was a systemic problem. And even then, there are no protocols or policies

in Georgia that I have found that address how many voter complaints, or other

conditions, involving BMDs would be required within or across polling places to

support a finding—or even a robust investigation—of a systemic problem.

      22.    If officials did suspect that the BMDs had been attacked, there would be

no straightforward way to respond or recover. One possible response would be to

delay certifying the election results and conduct a forensic analysis to understand why

ballots were misprinted and how many BMDs and votes were affected. Such an

analysis might take months and would not be guaranteed to uncover a sophisticated

attack. Even if an attack was confirmed, there is little chance that its effects could be

undone. Research shows that voters fail to detect most misprinted ballots, and so the

number of problem reports would likely be much smaller than the number of votes




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        Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 11 of 28




that had been changed. The only recourse might be to rerun the election, which could

be statewide involving millions of voters across Georgia.

Voter Verification Provides Insufficient Protection, Especially with Barcodes

      23.    Election experts have had widely varying intuitions about how likely

voters are to detect errors in BMD printouts, which is why it is important to evaluate

such issues and test such intuitions with appropriate experiments and studies. Last

year, the National Academies of Sciences, Engineering, and Medicine called for

research on this question, to “determine voter practices regarding the verification of

ballot marking device–generated ballots and the likelihood that voters, both with and

without disabilities, will recognize errors or omissions.”16 Subsequently, two studies

have examined voters’ verification performance using different methodologies. The

results show that most voters do not review their BMD printouts, and that voters will

likely fail to detect a large majority of errors caused by a BMD attack. This means

that a BMD paper trail is not a reliable record of the votes expressed by the voters.

      24.    The first study observed voters in two polling places during a real

election in Sevier County, Tennessee, which uses BMDs similar to Georgia’s.17


16
   National Academies of Sciences, Engineering, and Medicine, Securing the Vote:
Protecting American Democracy (2018). Available at http://nap.edu/25120.
17
   R. DeMillo, R. Kadel, and M. Marks, “What voters are asked to verify affects
ballot verification: A quantitative analysis of voters’ memories of their ballots”
(2018). Available at https://ssrn.com/abstract=3292208.

                                          11
        Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 12 of 28




Nearly half of voters did not review the BMD printout at all, and those who did

review it spent an average of only 4 seconds doing so. This suggests that voters are

likely to detect at most about half of misprinted ballots, and possibly far fewer.

      25.    A second study, conducted by my research group at the University of

Michigan, measured the rate at which voters detected errors during a realistic

simulated election. The voters used BMDs that we hacked so that one selection on

each printout was wrong. We recorded how many participants reviewed their ballots

and how many noticed the error and reported it to a poll worker. Our study has

undergone peer review and has been accepted to appear at the IEEE Symposium on

Security and Privacy,18 which is the most selective top-tier publication venue for

security research.19 It will be published in early January.

      26.    In the first part of the study, subjects were not prompted to review their

ballots in any way. Under that condition, 60% of voters failed to review their ballots,

and voters only reported 6.6% of errors. Considering only prominent “top of the

ticket” races, voters reported 14% of errors. These results imply that for every voter




18
   IEEE TC on Security & Privacy, “41st IEEE Symposium on Security and
Privacy” (2019). https://www.ieee-security.org/TC/SP2020/.
19
   Guofei Gu, “Computer Security Conference Ranking and Statistics.” Available
at: http://faculty.cs.tamu.edu/guofei/sec_conf_stat.htm (accessed Dec. 12, 2019).

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        Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 13 of 28




who notices that their ballot is misprinted and corrects it, there will likely be many

more voters who fail to notice and have their votes stolen by the attacker.

      27.    In the second part of the study, we tested a variety of procedural changes

to see whether they improved verification. Signage instructing voters to verify their

ballots (as required in Georgia by H.B. 316) did not increase error reporting. Other

changes did help, but only to a limited extent. For example, when a poll worker

verbally prompted the voter to review the ballot after it was printed, voters reported

15% of errors. In my opinion, it is unlikely that any purely procedural changes can

enhance voters’ error detection rates sufficiently to stop outcome-changing fraud in

close elections when BMDs are used by all in-person voters. And, as I have

explained, barcodes make the problem even worse, by making it impossible for voters

to notice or report some kinds of outcome-changing fraud.

      28.    Future BMD designs might achieve better error detection. I understand

that Defendants’ expert Dr. Gilbert has developed his own prototype of a new BMD

system that is designed to enhance verification. Dr. Gilbert’s improved design looks

very different from Georgia’s BMDs. It uses a transparent display that is overlaid on

top of the paper printout and allows voters to see immediately whether the printout

matches their on-screen selections. This innovation is evidently motivated by the poor

verifiability of existing BMDs such as the ones used in Georgia.


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        Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 14 of 28




      29.    Our study suggests several reasons why voters fail to verify BMD

ballots. Most voters are unfamiliar with election technology, and many do not

understand that the BMD printout is their legal ballot. Many Georgia voters may have

this misconception, given the recent transition from DREs. Furthermore, most voters

are not security experts and are unlikely to realize that it is possible for the printout

to be different from what the BMD showed on screen. When asked by a poll worker,

“Have you carefully reviewed each selection on your printed ballot?”, one of our

participants responded, “I checked it on the screen, it better be right.” Among

participants who did report errors, several believed they had made a mistake, even

though the BMD really was cheating.

      30.    In a third part of our study, my coauthors and I provide a simple

mathematical model for estimating how many voters will reports problems if BMDs

are attacked in a way that changes an election outcome. The model assumes that the

attacker will change both the barcode and the text, and it is likely to overestimate how

strongly verification will protect against sophisticated attackers. However, it

illustrates how weak a defense voter verification provides when all voters use BMDs.

      31.    Suppose there is a close election with an apparent margin of victory of

1% in favor of candidate A. If there had been no cheating, the result would have been

a one-vote victory for candidate B, but an attacker hacked the BMDs so that they


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        Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 15 of 28




misprinted a small fraction of the ballots. If voters report 14% of misprinted ballots

(the rate my study found for top-of-the-ticket contests), then only about 1 in 1200

BMD voters will report a problem—roughly one per precinct—even though the

election outcome is wrong due to fraud. This is likely far too few complaints to alert

officials or the public that there was a major, outcome-determinative problem.

      32.    Election officials are unlikely to take disruptive actions, like a protracted

and expensive forensic investigation, unless a much larger fraction of BMD voters

report problems. Suppose officials would launch an investigation if more than 1% of

BMD voters reported a problem. Under the scenario above, this condition would only

be met if voters verified their ballots so carefully that they would report 67% of errors.

This is ten times greater than the rate of error reporting we observed in our study.

      33.    Securing against misprinting attacks is much easier if only a small

fraction of voters uses BMDs (without barcodes) and the rest use hand-marked paper

ballots. This is because an attacker would be forced to cheat on a much larger fraction

of BMD ballots in order to achieve the same level of fraud. In Maryland, which uses

hand-marked paper ballots but makes BMDs available to voters who request them,

about 2% of voters use BMDs. If only 2% of voters used BMDs in the scenario above,

1% of BMD voters would report a problem even if voters noticed only 3.8% of errors.

Our results suggest that voters really do achieve this modest rate of verification


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         Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 16 of 28




accuracy, even though it is unlikely they can achieve the far greater accuracy required

when all voters use BMDs.

Reserving BMDs for Voters Request Them Would Strengthen Security

        34.   There is no practical sense in which “using BMDs only for voters with

disabilities can create a greater risk to election security than using BMDs more

broadly,” as State Defendants claim.20 To support this position, Defendants rely on

the testimony of National Federation for the Blind President Mark Riccobono,21 who

has no discernable election security expertise. Mr. Riccobono posits that hacked

BMDs would be less likely to be detected if only a small group of voters used them,

particularly a group with many blind voters. This is incorrect, for several reasons:

        (a)    First, neither blind voters nor sighted voters can recognize an attack that

               changed only the barcodes, which are the only portion of the BMD

               printout that is counted in Georgia. So long as there are elections for

               which Georgia does not verify the outcome shown in the human-

               readable text of the ballots, such attacks would be potentially

               undetectable, and attackers would likely prefer to strike in this manner.

               Moreover, an attacker whose strategy was to target blind voters could



20
     Dckt. 658 at p. 17.
21
     Decl. of M. Riccobono (Dckt. 658-4) at 11.

                                            16
 Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 17 of 28




      do so even if all voters used BMDs. Malware running on the BMDs can

      easily detect whether a voter is using an assistive device like an audio

      ballot or a Braille keypad. An attacker could program the malware to

      cheat only for such voters.

(b)   Second, to my knowledge, the rate of BMD error detection among blind

      voters has never been measured, but blind voters are not necessarily

      worse at ballot verification than the general population. Many people

      with visual impairments use portable devices to scan text and read it

      aloud. Such devices would allow blind voters to independently verify

      their printed ballots as well or better than sighted voters. Polling places

      could keep such devices on hand for voters who need them.

(c)   Third, even if BMDs were reserved for voters who requested them, not

      all voters who used BMDs would be visually impaired. Some voters

      without disabilities would likely request to use the BMDs, as would

      voters with disabilities such as motor impairments that do not create

      any elevated difficulty for verification.

(d)   Finally, using BMDs for all voters greatly magnifies security risks for

      everyone, including the blind, since all votes are potentially subject to

      manipulation by BMD malware, especially when they are counted from


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        Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 18 of 28




              barcodes. Conversely, limiting the use of BMDs (without barcodes) to

              a smaller voter population reduces the risk than an attacker will strike

              at all, since such BMDs become a less appealing target. When BMD

              use is limited, an attacker would have to tamper with a larger fraction

              of BMD ballots in order to change election results by a particular

              amount. This makes it more likely that a noticeable fraction of BMD

              users will report errors than when the same number of misprinted

              ballots are distributed among the entire voting population. Furthermore,

              if the population of BMD users is smaller than the margin of victory, it

              will be impossible for a BMD-based attack to change the outcome.

      35.    Using BMDs for all voters has no practical security advantages

compared to reserving BMDs for voters who request them. On the contrary, it makes

BMDs a much more attractive target for attackers and leads to greatly increased risks

for all voters—including the disabled—that their right to vote will be subverted by

an attack on the BMDs. And regardless, there is no need for barcodes at all.

      36.    State Defendants argue that implementing HMBPs with a limited

number of BMDs would violate the right to a secret ballot for voters with disabilities,

because BMD ballots are distinguishable from hand-marked ballots, and some




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         Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 19 of 28




precincts might have only one or a few voters with disabilities.22 This risk can be

mitigated easily by having poll workers encourage a small number of non-disabled

voters in each precinct to use the BMDs (without barcodes). This would ensure that

there was at least some minimum number of BMD votes in each precinct. And

because BMD voters in such circumstances would still be a very small number among

the total votes cast, they would not be an appealing target for attack and likely could

not be outcome determinative in any event, as I explained above.

        37.   Mr. Riccobono discusses a variety of other problems that voters with

disabilities sometimes encounter when BMDs are used infrequently.23 These include

poll workers who are unfamiliar with the machines and BMDs that are

malfunctioning or not properly set up. These issues must be taken seriously, but they

are solvable administrative deficiencies rather than intractable technological

problems. They can be addressed through well designed training, testing, and

inspection processes without exposing all voters, including voters with disabilities,

to increased security risks.




22
     Dckt. 658 at p. 18.
23
     Riccobono decl. at 10.

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        Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 20 of 28




Hand-Marked Paper Ballots Are Much More Secure than BMD Ballots,
Especially Those with Barcodes

      38.    Hand-marked paper ballots (HMPBs) are the most widely used voting

technology in the United States. They are widely used for in-person voting, and all

50 states, including Georgia, use them for absentee voting. When used with modern

precinct-count optical scanners and rigorous RLAs, HMPBs can provide much

stronger security than BMD-printed ballots, especially those based on barcodes.

      39.    Virtually every class of attack that affects HMPBs also affects BMDs,

but BMDs—particularly those that use barcodes—additionally suffer from the

serious possibility that malicious software will alter the voter’s choices without

detection. HMPBs can be well secured using existing election technology and

procedural controls. In contrast, defending BMDs against cyberattacks relies on

voters themselves to detect errors, which can be undetectable by voters, such as with

barcode manipulation. When BMDs are used for all in-person voters, reliably

detecting attacks would require far greater error detection accuracy than studies have

shown voters achieve, even assuming they were capable of detecting the sorts of

errors that can arise.

      40.    In comparing HMBPs to BMDs (generally, as opposed to barcode-based

BMDs specifically), Defendants’ expert Dr. Gilbert exaggerates the threat of what he




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        Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 21 of 28




calls the “undervote hack”24 and “overvote hack”25. He states that an attacker who

gains physical access to hand-marked ballots could cast additional votes by adding

marks in contests that voters left blank or could nullify votes by adding marks so that

the votes are invalid. Furthermore, he states that “the only way to detect this attack

would be to catch [the attacker] in the act.”26 These statements are misleading, for

several reasons:

      (a)     BMD-printed ballots are vulnerable to very similar attacks. An attacker

              with physical access to the BMD printouts can use low-tech means to

              tamper with them. This could be as simple as discarding ballots that are

              unfavorable to the attacker, or as using a laser printer or a photocopier

              (neither an exotic technology) to generate additional ballots that are

              favorable to the attacker.

      (b)     There are already defenses in place to make physically tampering with

              the paper ballots difficult, and these protections would work as well for

              protecting HMBPs as they do for BMD-printed ballots. Georgia has

              procedures for safeguarding ballots during transportation and storage

              and for maintaining a chain of custody.


24
   Gilbert decl. at 37(C).
25
   Id. at 38(C).
26
   Id. at 37(C).

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          Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 22 of 28




        (c)    Modern optical scanners such as Georgia’s Dominion machines are

               designed to detect such fraud. They record a digital image of each ballot

               as it is scanned.27 In the event that an audit found that the paper ballots

               and the scanner results disagreed, these digital images would reveal

               which ballots had been altered, and how. The attacks Dr. Gilbert is

               concerned about would result in a telltale pattern, such as marks made

               with similar handwriting or with a similar writing implement that all

               occurred in ballots that were stored in the same place. This would be

               strong evidence that a specific batch of ballots had been tampered with.

               Physical tampering would leave physical evidence on the ballots, and

               traditional police work would likely uncover the perpetrator.

        (d)    In contrast, if BMDs were infected with malware that altered a small

               fraction of the printed ballots, discovering the attack and identifying the

               attacker would potentially be difficult or impossible.

Additional Rebuttal of Declaration of Juan E. Gilbert28

        41.    Plaintiffs’ expert Dr. Juan E. Gilbert is a computer scientist who

specializes in human-centric computing. He is not an expert on computer security.



27
     Coomer decl. at 10.
28
     Gilbert decl. (Dckt. 658-3).

                                            22
        Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 23 of 28




Nevertheless, I have responded to several of Dr. Gilbert’s security-related assertions

above, and I will address a few additional points here.

      42.    Dr. Gilbert expresses concerns about the possibility that voters will

incorrectly mark HMPBs, leading to overvotes, undervotes, or miscounting.29

However, the Dominion optical scanners used in Georgia are designed to combat

these problems. If the scanners detect a potential error, they will warn the voter and

give the voter the option of either casting the ballot as-is or correcting it.30 This is

analogous to the way that the BMDs provide warnings about undervotes on their

review screens. Dr. Gilbert does not cite any data to show that undervotes, overvotes,

or other errors remain frequent when voters are given an opportunity to correct them.

      43.    Dr. Gilbert acknowledges that optical scanners can be programmed to

reject overvoted ballots but claims that this “could result in long lines and delayed

voting at precincts when the voter has to re-mark a new ballot.” Despite HMPBs



29
  Gilbert decl. at 37-39.
30
  This capability is described in Pennsylvania’s examination of the Dominion
system, available at https://www.dos.pa.gov/VotingElections/Documents/Voting
Systems/Dominion Democracy Suite 5.5-A/Dominion Democracy Suite Final
Report scanned with signature 011819.pdf:
“The ICP, precinct scanner of Democracy Suite 5.5 provides the voter with a
caution message when the ballot contains errors, such as overvotes or undervotes.
The voter is also presented an error report on the screen when the tabulator detects
potential errors. The voter can either decide to affirm their intent by casting the
ballot, or spoil the ballot and fill out another ballot.”

                                           23
          Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 24 of 28




being used as the primary means of recording votes in the majority of jurisdictions

across the U.S., Dr. Gilbert cites no data to show that this really happens, and it is

unlikely in a HMPB system. All a voter would need to correct an overvote is a new

blank ballot, a writing implement, a surface on which to mark the ballot, and spot to

do so privately. Moreover, only a small fraction of voters need to correct overvotes,

so the overall effect on polling place throughput is likely to be small. By contrast, in

an all-BMD system, having too few BMDs creates a bottleneck that will cause long

lines—as does having BMDs that do not function properly.

        44.    Dr. Gilbert also expresses concerns about the potential for voters using

HMPBs to mark ballots in a way that the scanners misreads or fails to recognize.31

This is certainly possible, but, as stated above, Georgia’s scanners will warn voters

when an improper mark results in an overvote or undervote. In any event, a rigorous

risk-limiting audit would detect and correct any error in an election outcome that

resulted from the scanners interpreting the voter’s marks differently than a human

would. Although it is possible that some marks might be ambiguous even to humans,

evidence from past elections shows that such marks are extremely rare. During the




31
     Gilbert decl. at 39(A).

                                           24
        Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 25 of 28




2008 Minnesota Senate recount, only 14 ballots out of 2.9 million resulted in

disagreement among canvassers about the voter’s intent.32

      45.    Dr. Gilbert claims that a BMD barcode can be “examined during pre-

election testing or post-election audits or recounts to confirm its validity.”33 This is

misleading: although the barcodes on individual test ballots could be confirmed

during testing, that has limited relevance to the ballots voters cast during the election.

BMD malware would likely be programmed to cheat on only a fraction of barcodes,

and an attacker could rely on other features such as the date and time or the number

of times the BMD had been used to conceal cheating during testing.

      46.    Dr. Gilbert states that “a hand-marked paper ballot system is not

accessible to voters with disabilities while a BMD system is.”34 However, I do not

understand Curling Plaintiffs to be challenging the use of appropriate BMDs by

voters with disabilities. The security risks of using BMDs are much greater when they

are used by all voters, especially with barcodes. Using HMPBs for most voters while

providing BMDs (without barcodes) for voters who request them would result in no




32
   “Minnesota’s Historic 2008 Election” (2009), available at
https://www.sos.state.mn.us/media/3078/minnesotas-historic-2008-election.pdf.
33
   Gilbert decl. at 39(E).
34
   Id. 40.

                                            25
        Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 26 of 28




loss of accessibility but would reduce BMD security risks for all voters, including

voters with disabilities.

      47.    Dr. Gilbert states that it is, in his opinion, “unacceptable” that

“proponents of hand-marked paper ballots while arguing that BMDs are insecure

suggest that it is OK for people with disabilities to vote on [them].” 35 I am uncertain

what he means by this, because he concedes that “generally any computer can be

hacked”,36 and he clearly believes that it is acceptable for people with disabilities to

use computer-based BMDs. In my opinion, despite their security risks, appropriate

BMDs (without barcodes) are the most secure category of voting technology now

available for use by voters with certain disabilities. However, when all voters use

BMDs, as in Georgia, they create a serious risk that outcome-changing cyberattacks

will go undetected. Barcodes needlessly exacerbate this already serious risk.

      48.    Dr. Gilbert estimates that around 635,000 disabled voters cast votes in

Georgia in 2016.37 This does not imply that anywhere near that many voters require

the assistance of a BMD to vote. The statistics Dr. Gilbert cites include voters with

many kinds of disabilities, including ones that impact mobility but do not inhibit the

private use of HMPBs. A better way to estimate the population that needs BMDs is


35
   Id. at 40(C).
36
   Id. at 44.
37
   40(E)

                                           26
        Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 27 of 28




to look to states that use HMPBs and make BMDs available to votes upon request.

One such state is Maryland. The National Federation of the Blind of Maryland cites

data from the Maryland State Board of Election showing that, during the 2016

General Election, only 1.8% of Maryland voters used BMDs.38 There were 4.1

million ballots cast during the 2016 General election in Georgia, which implies that

about 75,000 Georgia voters would have used BMDs, if Georgia voters used them at

the same rate as Maryland voters. This is by no means an insignificant number of

people, but nonetheless it is much smaller than Dr. Gilbert’s data might imply.

      49.    Defendants incorrectly ascribe to Dr. Gilbert the proposition that

“research shows that voters will verify their ballots when posted instructions are

given, such as those required by H.B. 316.”39 Dr. Gilbert, citing unpublished research

by Dr. Michael Byrne, says only that having a poll worker prompt voters to review

their ballots increases verification.40 My own peer-reviewed study discussed above is

in agreement that certain kinds of verbal prompts by poll workers can have a modest

positive effect, but it finds no statistically significant increase in verification from

signage reminding voters to verify their ballots, which is what H.B. 316 requires.

And again, as I explained above, voter verification cannot reliably detect various


38
   https://elections.maryland.gov/about/meeting_materials/October_2017.pdf
39
   Dckt. 658 at p. 11.
40
   Gilbert decl. at 51.

                                           27
Case 1:17-cv-02989-AT Document 682 Filed 12/17/19 Page 28 of 28
